                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )         NO. 3:09-00244
                                           )         JUDGE CAMPBELL
ROGER WAYNE BATTLE, et al.                 )


                                          ORDER


       Pending before the Court are Defendant Christopher David Imes’ Motion to Continue or

Reset Hearing (Docket No. 358) and Defendant Jessie Lobbins’ Motion for Counsel to be

Excused from Attendance at October 13, 2010 Hearing (Docket No. 376).

       Defendant Jessie Lobbins Motion (Docket No. 376) is GRANTED and co-counsel shall

appear at the October 13, 2010 hearing. Defendant Christopher Imes’ Motion (Docket No. 358)

is DENIED. However, Kimberly Hodde is excused from the October 13, 2010 hearing so long as

co-counsel appears for Defendant Christopher Imes.

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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